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                           SO U TH E RN D ISTR IC T O F FLO RID A

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  U NITED STA TES O F A M ER IC A

  VS.

  SA N DR A RU BALL O ,

                  D efendant.

                                       /

                                C RIM IN AL CO VER SH EET


  1.    D id thism atteroriginate from am atterpending in theN orthel'
                                                                     n Region oftheU nited States
        A ttom ey's Officepriorto October 14,2003?                   Y es       X     No



                                            Respectfully subm itted,

                                            BEN JAM m G .GREEN BERG
                                            U NITED STATES A TTORN EY


                                     BY :
                                            AN N E P.M CN A M A RA
                                            A SSISTAN T UN ITED STATES A TTO RN EY
                                            Florida BarN o.A 5501847
                                            99 N .E.4th Street,6th Floor
                                            M iam i,Florida 33132-2111
                                            TEL:(305)961-9213
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AO91(Rev.08/09) Cri
                  minalComplaint

                                U NITED STATES D ISTRICT C OURT
                                                      forthe
                                           Southern DistrictofFlorida

               United StatesofAm erica                   )
                           V.                            )
                   Sandra Ruballo,
                                                         )
                                                         )
                                                           caseNo.t('-M J-jytlq - p $.j-g
                                                         )
                                                         )

                                            CRIM INAL COM PLAINT

         1,the com plainantin thiscase,statethatthefollowing istruetothebestofmy knowledgeand belief.
Onoraboutthedatets)of Jan.25,2012-April19,2018, inthecountyof                            Mi
                                                                                          ami-Dade          inthe
  Southern     Districtof    Florida       ,thedefendantts)violated:
           CodeSection                                          OffènseDescrl
                                                                            ption
         18U.S.C.j 1349                                  Conspiracy to CommitW ire Fraud




         Thiscriminalcom plaintisbased on these facts:
         SEE ATTACHED AFFIDAVIT.




         W Continuedontheattachedsheet.
                                                                                :



                                                                               Complainant'
                                                                                          ssignature
                                                                          I
                                                                 Robert awke e Norman S eci
                                                                                          alA ent USSS
                                                                                Printednameand title

Sworn to beforeme and signed in my presence.


D ate:        04/25/2018
                                                                                    Judge'
                                                                                         ssignature

City and state'
              .                                                         Ho .Edwin G.Torres,U.S.Ma istrate
                                                                                Printednameand title
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                                            A FFID AV IT
        1,RobertH aw keye N orm an,having been duly sw orn,hereby depose and state asfollow s:

                       AGENT SACKGROUNP AND INTROPVCTIO N
               lam a SpecialAgent(ttSA'')with the United States SecretServices(ûEUSSS'')and
 have been since M ay 2016. Prior to m y em ploym ent with U SSS,1 served l5 years in the U nited

 States M arine Cop s. ln m y role asan SA ,lhave participated in investigations,search w arrants, and

 arrestspertaining to various econom ic crim es. Ihave also received extensive training in the proper

 investigative techniques for various offenses under Title 18,including Sections 371, 1028A , 1029

 and l343. A s an SA ,l am an ççinvestigative or1aw enforcem ent ofticerofthe United States orofa

 state''withinthemeaningofTitle18,UnitedStatesCode,Section2510(7).
               The infonnation contained in this A ftidavit is subm itted for the sole purpose of

 establishing probable cause to support this crim inal com plaint against Sandra RU BA LLO, for

violations of Title 18,U nited States Code,Section 1349,that is,conspiracy to com m itw ire fraud.

Theinform ation in thisA ffidavitisbased on m y personalknow ledge and inform ation provided to m e

by others,including other law enforcem entpersonnel.The infonnation setforth herein isprovided

 solely forthe purpose ofestablishing probable cause in supportofthe crim inalcom plaint. Because

this Affidavitis subm itted forthe lim ited purpose ofestablishing probable cause,itdoesnotinclude

allofthe factslearned during the investigation.

                                         BA CK G R O U ND

               TheChildCareFoodProgram (''CCFP'')isadministeredinFloridabytheDepartment
ofHealth(EéDOH''),BureauofChildCareFoodPrograms.Financialgrantsareawardedamzuallyto
theDOH from U.S.DepartmentofAgriculture(6tUSDA'') Food andNutrition Service(tTNS'')to
fund the entire CCFP. The pum ose of the CCFP is to provide nutritious m eals and snacks for

underprivileged children in daycarecenterslocated in the Southern DistrictofFlorida,and elsew here.

The CCFP is designed to ensure propernutlition to young children w ho receive a significantportion
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 oftheirdaily food intakein child care settings.Assuch,the CCFP provideschildren classified ator

 below acertain familyincomelevelwith uptotwo(2)mealsand one(1)snack,ortwo (2)snacks
 and one (1)mealperday,ata free ora redueed rate. Centersoften contractwith a sponsoring
organization to processtheirpaperw ork forthe CCFP,and subm ititto D OH . ln those situations,the

 sponsoring organization enters into an agreem entw ith the D O H to operate the CCFP, and assum es

adm inistrativeand financialresponsibility forthe CCFP on behalfofthecenter.

               Highland Food Resources,lnc.(ECHFR'')isaFloridacorporation incorporated on or
aboutN ovem ber6,2002,w ith aprincipaladdressof 1021 lvesD airy Road,Suite 214,M iam i, Florida

33179. Throughoutthe relevantperiod,RU BALLO was an owner,operator,and registered agentof

HFR.A ssuch,RU BALLO oversaw thedaily operation ofHFR. She w asalso a signatory on m ultiple

H FR and related bank accounts.

               HFR isaCCFPsponsoringorganizationofmorethantwo-hundred(200)childdaycare
centersoperating in the Southern DistrictofFlorida.In thisrole,H FR processesthe CCFP paperwork

forthecenters,and filesmonthly claimsform ealreimbursem entswith DOH onbehalfofthecenters.

Thereimbursementrate isbased on thetotalnum beroffree,reduced and non-needy applicationson

file forthe children enrolled in the daycare centers. Reim bursem entis calculated on a sliding scale,

with the largest reim bursem ent being for children at the daycare centers classified as free, then

reduced,then non-needy.Thatrateisthen m ultiplied by thenum berofm ealsserved in each category,

in orderto detennine the totalreim bursem entto the daycare center.

              For daycare centers thatuse H FR as a CCFP sponsoring organization,H FR subm its

the m onthly claim s electronically,afterw hich the D OH issueselectronic reim bursem entpaym entsto

H FR .H FR in tulm paysthe daycarecenters,less HFR 'Sfee,which isa percentageofthe totalm onthly

m ealreim bursem ents. Thus,the size of H FR 'S paym ent derived from its sponsoring of a daycare

centeris driven,in part,by the num berofm eals claim ed by daycare centers thatare m ultiplied by a
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 higherreimbursem entrate forthe free and reduced meals/snacks. During therelevantperiod,HFR

 wassolely funded by the CCFP,via fundswired electronically from the USDA , outside ofthe state

 ofFlorida,to the CCFP,and then to HFR.From 2012 through 2016, H FR received am onthly average

 of$847,571in electronicreimbursem entpaymentsfrom the USDA. During thissam eperiod, HFR
 received several m illion dollars in funds from the CCFP. A s described in m ore detailbelow , this

 m oney wasobtained through fraud.

                AdditionaldutiesofCCFP sponsoring organizations such as HFR include approving

 free and reduced m ealapplications forchildren atthe daycare centers, conducting inspections atthe

 centersm ultiple tim es a year,and reviewing the centers'docum entation thatisultim ately used by the

 sponsoring organization to subm ita m onthly reim bursem entclaim to the U SD A , through the DO H .

 Duties ofH FR em ployees review ing a daycare center'sdocum entation include, am ong other things,

approving or rejecting free and reduced lunch applications,reviewing mealcountrecords and
em ollmentrosters,and confirm ing thatchildren areaccurately reflected on the CCFP formsasfree,

reduced ornon-needy. D ocum entation thatthe CCFP sponsoring organization review saspartofthis

oversight process includes, am ong other things, attendance records, m eal disallow ances, and

reim bursem entreceipts.

        8.     Asasponsoring organization,HFR contractswith caterersto deliverm ealsto children

atdaycare centers underCCFP guidelines. Unreported cash kickbacksare notpermitted underthe

CCFP catering guidelines. A s partof the process,H FR solicits catererstluough a bidding process,

and seled the low estbidder. Once selected,the caterers deliver m eals fol-children atparticipating

daycare centers,and are ultim ately reim bursed by H FR under the term s oftheir agreem entfor the

m ealsprovided.

        9.     M ontoya H oldings,lnc.EEM ontoya H oldings,''cl/b/a H ealthy Children Catering,is a

Florida corporation incorporated on or aboutFebruary 27,2004,and located in the Southel'
                                                                                       n D istrict
                                                  3
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 ofFlorida.Throughouttherelevantperiod,CarlosM ontoya('çM ontoya'')wastheownerandoperator
 ofM ontoya H oldings. A s such,M ontoya oversaw the daily operation ofM ontoya H oldings. He w as

 also a signatory on m ultiple M ontoya Holdings, H ealthy Children Catering, and related bank

 accounts.

        10.     M ontoya H oldings w as one of the catering services thatparticipated in the bidding

 process,and ultim ately contracted w ith HFR to provide m ealsunderthe CCFP to eligible students at

 participating daycare centers located in the Southern DistrictofFlorida. ln return forproviding such

 m eals,M ontoya H oldingsw as paid,via H FR,with CC FP funds.

                                       PRO BABLE CA U SE
               Based on com plaintsreceived by the U SDA ,law enforcem entbegan an investigation

 in 2016 into HFR and M ontoya H oldings. During the investigation, 1aw enforcem entinterview ed

 severalindividualsfam iliarw ith H FR and M ontoya H oldings,including pastand presentem ployees.

 M ultiple individuals stated to law enforcem entthat,during m onthly claim sreview s,H FR em ployees

 would identify problemswith thepaperwork thatdaycare centerssubmitted to HFR,such asm issing

 signatures,incom e am ounts,food stam p num bers,m ealcountand attendance discrepancies,and bring

them to the attention ofHFR m anagem ent.

               A s corroborated by,am ong other things,interview s w ith fEY .M .,''a cooperating co-

 conspirator, banking records, business records, and docum entation subm itted to the D O H in

furtherance ofthe schem e,RU BA LLO and her co-conspirators know ingly and intentionally falsitied

and caused to be falsified,papenvork for children em olled atdaycare centers sponsored by HFR .

RU BALLO and her co-conspirators did this by adding food stam p num bers,falsifying signatures,

and m odifying reported fam ily incom e levels,in orderto qualify form ore free and reduced m eals as

partofthe CCFP. This m aterially false and fraudulentdocum entation w as then used asthe basis for
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 the inflated final m onthly reimbursem ent claim s subm itted electronically by RUBALLO to the

 U SDA ,through the DO H .

        l3.    Paperw ork w as also provided to law enforcem ent from the D OH as part of the

 investigation,including recordsfrom morethanonehundred(100)daycarecentersthatutilizedHFR
 asa sponsoring organization,the majolity ofwhich HFR contracted with Montoya Holdingsto
 provide catering servicesfor. A dditionally,law enforcem entobtained reports ofsurprise inspections

 conductedbytheFloridaDepartmentofChildandFamilyServices(ItDCFS'')atmanyofthesesame
 centers,during the sam e tim e period. Law enforcem entthen com pared the docum ents subm itted to

 the DO H by H FR w ith the D CFS inspection reports forthe sam e daycare centers. In each instance,

the D CFS inspection reportlisted fewer children presentatthe daycare centerthan the m eals claim ed

by the center,through H FR ,forpurposesofCCFP reim bursem ent.

               %%llaycare Center 1''isone ofthe daycare centers located in M iam i-D ade County that

used HFR asa sponsoring organization. Severalw itnesses interview ed by law enforcem entidentified

D aycare Center 1 as a center that cooperating co-conspirator Y .M .oversaw paperwork for w hile

w orking atHFR under the direction of RU BALLO . The CCFP claim s for D aycare Center 1 w ere

review ed as part of the investigation. Law enforcem ent review ed several free and reduced m eal

applicationssubm itted by D aycare Centerl in connection w ith the CCFP.A recordscheck confinned

thatseveralofthe applications contained food stam p num bers thatdid notbelong to any m em berof

the listed child'shousehold. The records also revealed that,in m ostinstances, the claim s subm itted

to the D OH by RU BA LLO for D aycare Center 1 far exceeded the children found by D CFS on site

during surprise inspections.

        15.    The investigation further revealed that in Septem ber 2012,RU BA LLO negotiated a

contracton behalfof HFR w ith M ontoya H oldings. U nder this contract,M ontoya Holdings w as to

provide m eals under the CCFP to eligible students at participating daycare centers located in the
                                                 5
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 Southern D istrict of Florida. Such contracts betw een M ontoya Holdings and H FR continued

 throughoutthe relevantperiod. A s the ow ner and operator of H FR , RUBA LLO was in charge of

 negotiating the bidding process and securing contractarrangem ents with M ontoya Holdings.

        16.    Records obtained by 1aw enforcem ent during the investigation revealthat H FR has

 paidM ontoyaHoldingsmorethan $8m illion inCCFP fundssince2012.Ascorroboratedbybusiness

 records,banking docum ents,papem ork obtained from the D OH ,and w itnessstatem ents, RU BA LLO

 fraudulently manipulated the bidding processto ensure thatM ontoya Holdingswasthe contracted

 catererforover 80% ofHFR 'Sdaycare centers,ultim ately servicing m ore than one hundred and fifty

 (150)dayearecentersutilizingtheCCFP program duringtherelevantperiod.
               Aspartofthe investigation,law enforcem entconduded intelwiew sw ith acooperating

 co-conspirator. Such interviews revealed thatin furtherance ofthe schem e,RU BA LLO conspired

w ith owners and operators of M ontoya H oldings,and others,to rig the catering bid process through

m aterially false and fraudulentrepresentations to the CCFP. For exam ple, RU BA LLO know ingly

 and willfully accepted kickbacksfrom owners and operatorsofM ontoya Holdingsin exchange for

know ingly and intentionally using false and fraudulentm isrepresentations and pretenses regarding

m ealpricing,bid details,and inflated m onthly reim bursem ent claim s to repeatedly secure catering

contracts for M ontoya H oldings at participating CC FP centers that used H FR as a sponsoring

organization. The differencebetw een therepresented inflated costssubm itted by RU BA LLO and the

actualcostsw ere used,in part,to fund m onthly cash kickbacks paid by the ow ners and operatorsof

M ontoya H oldingsto RUBA LLO.

        18.   The kickbacks RU BA LLO accepted from M ontoya Holdings were calculated on a per

m eal basis. For exam ple, in furtherance of the schem e, in or around April 2013, RU BA LLO

knowingly and willfully acceptedm orethan $25,000 in cash kickbacksfrom ownersand operatorsof

M ontoya Holdings. D uring this sam e m onth,M ontoya Holdings know ingly and w illfully received
                                                6
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 morethan $152,000 in falsely and fraudulently obtained CCFP fundsthrough HFR The fundsw ere
                                                                                   .



 w ired electronically from the U SD A , outside ofthe state of Flodda,to the CCFP,then to HFR , and

 ultim ately,to M ontoya H oldings.

        19.     A dditionally,ascorroborated by,am ong otherthings, interview sw ith cooperating co-

 conspirator Y .M .,banking records,business records, and docum entation subm itted to the D O H in

 furtherance ofthe schem e,RUBA LLO and her co-conspirators also know ingly and w illfully inflated

 the budgetthatRUBA LLO electronically subm itted to the U SDA , via the DO H ,aspartofthe CCFP

 program . For exam ple,Y .M .and others agreed to receive an intlated salary from RU BA LLO , in

 exchange forcashing partofherpaycheck and providing itto the ow ner. Sim ilarly,RU BA LLO and

 herco-conspirators also m aterially m isrepresented and inflated the HFR budgetby representing that

 a m aintenance com pany provided cleaning and m aintenance services to H FR , when in reality,as

 RU BA LLO and her co-conspirators knew ,no such w ork w as perform ed. lnstead,RUBA LLO and

 herco-conspirators cashed the checkspaid by HFR to the m aintenance company, via federalfunds

 received by H FR ,and used the falsely and fraudulently obtained funds for their personal use and

 benefit.

        20.    Additionally, in furtherance of the schem e, and while employed at HFR and in

violation ofthe CCFP rules and regulations, conspirators know ingly and willfully received m onthly

 side paym ents from daycare centers in exchange forhelping w ith theirpaperwork and adm inistrative

item s. Y .M .retained a portion ofthese paym entsforherow n personaluse and benefit, and provided

the rem ainderofthem to RU BALLO ,w ho know ingly and w illfully accepted the cash paym ents and

retained them forherow n personaluse and benefit. D uling this sam eperiod,RUBA LLO falsely and

fraudulently represented to the U SD A and D O H in electronic com m unications that no such side

paym entarrangem entsexisted.
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               Additionally,in Decem ber2017, 1aw enforcem entarrested ttY .M .,''a co-conspirator

  in colmection with theinvestigation. Phonerecordsobtained by 1aw enforcementrevealthatafterthe

 arrest,there w ere repeated and frequent com m unications via calls, textm essages,and other m eans

 between phone numbersregistered to RUBALLO and phone num bersbelonging to co conspirators
                                                                                      -




 atH FR and M ontoya Holdings.

                                         CO N C LU SIO N

               Therefore,based on the inform ation provided above, Irespectfully subm itthatthere

 existsprobable causeto believe thatSandra RUBALLO did knowingly, and w ith intentto defraud,

 agree with otherpersons to accom plish a com m on and unlawfulplan to com m itw ire fraud, allin

 violation ofTitle 18,United StatesCode, Section 1349.

 FUR THER A FFIA N T SA YETH N A U GH T
                                                            Jk



                                                    Robe H keye orm an,SpecialA gent
                                                    United S atesSecretSelwice



 Sw orn an ub 'bed before m e t '      ' day of
 Ap '      'n M iam i,Florida.


 ED W  G .TO RRES
 UN ED STA TES M AG ISTRA TE JU DG E
 SO THERN D ISTRICT OF FLO RIDA




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